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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY


    In re:                                                  Chapter 11

    NEW ENGLAND MOTOR FREIGHT, INC.,                        Case No. 19-12809 (JKS)
    et al.,
                                                            (Joint Administration Requested)
                             Debtors.1


                    DECLARATION OF VINCENT COLISTRA
    IN SUPPORT OF DEBTORS’ CHAPTER 11 PETITIONS AND FIRST DAY MOTIONS

             I, Vincent Colistra, pursuant to 28 U.S.C. § 1746, declare as follows:

             1.     I am the Chief Restructuring Officer (the “CRO”) for the above-captioned debtors

(the “Debtors” or “Company”). My firm, Phoenix Management Services, LLC (“Phoenix”) was

retained by the Debtors in December 2018 to assist in their debt consolidation and restructuring

efforts and I was hired as the Debtors’ Chief Restructuring Advisor. Subsequently, on February



1
 The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification number are
as follows: New England Motor Freight, Inc. (7697); Eastern Freight Ways, Inc. (3461); NEMF World Transport,
Inc. (2777); Apex Logistics, Inc. (5347); Jans Leasing Corp. (9009); Carrier Industries, Inc. (9223); Myar, LLC
(4357); MyJon, LLC (7305); Hollywood Avenue Solar, LLC (2206); United Express Solar, LLC (1126); and NEMF
Logistics, LLC (4666).

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6, 2019, the Debtors hired me as CRO, through Phoenix’s wholly-owned subsidiary, Phoenix

Executive Services, LLC (“PES”), subject to Court approval in these Chapter 11 Cases (defined

below).

       2.      I am a Senior Managing Director of Phoenix, which I joined in 1997 and became a

shareholder in 1998. I have managed or participated in over sixty engagements since joining

Phoenix that involved developing and implementing solutions in complex corporate restructurings

and reorganizations (both out of court and through bankruptcy proceedings), operational and

financial turnarounds, recapitalizations, re-financings, the raising of senior debt, second lien debt,

subordinated debt with warrants, as well as representing strategic and financial buyers and sellers

of businesses in both the public and private sector. I am licensed under Phoenix’s investment

banking affiliate, Phoenix Capital Resources, a registered broker-dealer, and in that capacity I have

extensive experience conducting sales under Section 363 of the Bankruptcy Code and other

complex transactions.

       3.      I submit this declaration (the “Declaration”) in support of the voluntary petitions

for relief for the Debtors’ cases (the “Chapter 11 Cases”) under chapter 11, title 11, United States

Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”), and the motions and applications

(collectively, the “First Day Pleadings”) for related relief filed concurrently herewith as of the

date hereof (the “Petition Date”).

       4.      In my capacity as CRO for the Debtors, I am familiar with the Debtors’ day-to-day

operations, business and financial affairs, and books and records.

       5.      The First Day Pleadings are intended to enable the Debtors to effectively and

efficiently manage these Chapter 11 Cases, as well as to avoid certain adverse consequences that

might otherwise result from the commencement of these cases. Among other things, the First Day


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Pleadings are designed to meet the Debtors’ goals of: (i) transitioning into chapter 11 with as little

disruption and loss of value as possible; (ii) maintaining the confidence and support of their

customers, employees, vendors and service providers as necessary to effectuate the wind-down of

the operations and an orderly liquidation of the Debtors’ assets; and (iii) establishing procedures

for the smooth and efficient administration of these Chapter 11 Cases. I have reviewed the First

Day Pleadings, and it is my belief that the relief sought therein is necessary to: (a) avoid immediate

and irreparable harm to, and ensure the uninterrupted operation of, the Debtors’ businesses during

the wind-down process; and (b) maximize and preserve the value of the Debtors’ chapter 11 estates

for all parties-in-interest.

        6.      Except as otherwise indicated, all facts set forth in this Declaration are based upon:

(i) my personal knowledge; (ii) my review of relevant documents; (iii) information supplied to me

by other members of the Debtors’ management team or by professionals retained by the Debtors;

or (iv) my opinion based on my experience and knowledge of the Debtors’ operations and financial

condition. If I were called upon to testify, I could and would testify competently to the facts set

forth herein.

        7.      For the Court’s benefit, this Declaration is organized into four sections. Section I

provides background information with respect to the Debtors’ business operations, corporate

history, and organizational structure. Section II provides a summary of the Debtors’ pre-petition

capital structure. Section III describes the circumstances leading to the commencement of these

Chapter 11 Cases. Section IV summarizes the relief requested in, and the facts supporting, each

of the First Day Pleadings.




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I.     BACKGROUND

       A.      OVERVIEW OF DEBTORS’ BUSINESSES AND ORGANIZATIONAL STRUCTURE

       8.      The Debtors offer a broad range of transportation services. Debtor New England

Motor Freight, Inc. (“NEMF”) was founded in 1918 in Elizabeth, New Jersey and is a leading

less-than-truckload (“LTL”) carrier with a focus in the Mid-Atlantic, Midwest and Northeast

United States. NEMF also offers LTL services to its customers across the United States and Canada

through a number of partnerships and interline carrier arrangements with other LTL providers. In

addition to the LTL business, the Debtors provide truckload (“TL”) services through Debtor

Eastern Freight Ways, Inc. (“Eastern”). Debtor Jans Leasing Corp. (“Jans Leasing”) is a trucking

equipment lessor; Debtor Carrier Industries, Inc. (“Carrier”) offers dedicated third party logistics

services; Debtor Apex Logistics, Inc. (“Apex”) offers transportation brokerage services, and

Debtor NEMF World Transport, Inc. (“NEWT”) provides non-vessel operation common carrier

operations between the United States and Puerto Rico.            Debtor NEMF Logistics, LLC

(“Logistics”) is a third-party logistics company specializing in logistics management services,

including warehousing, software, brokerage and support. Debtors Myar, LLC (“Myar”) and

MyJon, LLC (“MyJon”) are both dormant and had no economic actively in 2018. Debtors

Hollywood Avenue Solar, LLC (“Hollywood Solar”) and United Express Solar, LLC (“United

Solar”) were formed to acquire solar arrays for terminals in South Plainfield and Pennsauken, New

Jersey, respectively, at which the Debtors operate.

       9.      MyJon, Hollywood Solar and United Solar are wholly-owned subsidiaries of

NEMF. Myar is a wholly-owned subsidiary of Eastern. The remaining Debtors are all sister

entities owned solely by The Shevell Dynasty Trust, or by the Shevell Dynasty Trust and Myron

P. Shevell.


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         10.     As of the Petition Date, the Debtors employ approximately 3,450 full-time and part-

time employees. Approximately 1,900 of the employees are members of International Association

of Machinists and Aerospace Workers, AFL-CIO (the “Union”) and are covered by a series of

collective bargaining agreements with the Union.

         11.     In 2017, the Debtors’ businesses generated consolidated gross revenues of

approximately $373 million. For 2018, the Debtors estimate that their businesses will generate

consolidated revenues of approximately $370 million.2

         12.     The Debtors’ principal place of business and corporate headquarters is located at

1-71 North Avenue East, Elizabeth, New Jersey, 07201-2859. The Debtors operate from 36

trucking terminals located throughout the Mid-Atlantic, the Northeast and Midwest, and two

additional locations in New Brunswick, NJ and Jordan, NY, which are used primarily for

administrative staff and for the Eastern operations. The only real property owned by the Debtors

is located in Miami, Florida (the “Miami Property”), and is leased to an unrelated third-party

trucking company. The Debtors have six main business segments, as described immediately

below.

         13.     The Debtors commenced these Chapter 11 Cases to maximize the value of their

assets and to effectuate an orderly liquidation process for the benefit of all creditors. The orderly

liquidation of the Debtors will involve: (i) the immediate wind-down of nine of the eleven Debtor

entities; (ii) the orderly collection of the Debtors’ accounts receivables; (iii) the sale of the Debtors’

two most profitable entities, Eastern and Carrier, as going-concerns pursuant to a Court-approved

Section 363 bidding and auction process; (iv) sales of the Debtors’ remaining assets (primarily




2
 The Debtors’ books for fiscal year ending December 29, 2018 are not yet final. All references to 2018 financials
herein are based on the Debtors’ preliminary results and remain subject to change.
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rolling stock, equipment, machinery and inventory), which are located across the Debtors’ 36

terminals; and (v) the sale of the unencumbered Miami Property.

               i.     NEMF: LTL Business

       14.     NEMF operates as a super-regional provider of LTL trucking services in 15 states,

spanning from Maine to Chicago, and into northeastern Kentucky and all of Virginia. This is the

Debtors’ core business segment. NEMF had approximately $345 million in gross revenues in

2017, representing approximately 92% of combined total gross revenues for the Debtors in 2017.

The Debtors estimate that NEMF generated gross revenues of approximately $343 million in 2018.

In addition to its operations through terminals located in 15 states in the Northeast, Mid-Atlantic

and Midwest, NEMF is able to reach an estimated 85% of the U.S. population through partnerships

with other leading regional carriers. Likewise, through partnerships with Canadian carriers,

NEMF is also able to reach the entire Canadian population.

               ii.    Eastern: TL Business

       15.     Eastern is based in South Brunswick, New Jersey and was established in 1994 to

provide TL services within the Northeast and Mid-Atlantic. Gross revenues for Eastern were

approximately $30.2 million in 2017, representing approximately 8% of the combined total gross

revenues for the Debtors in 2017. The Debtors estimate that Eastern generated gross revenues of

approximately $31.0 million in 2018. Eastern principally provides overnight or same-day delivery

with an average length of haul of about 400 miles. Eastern uses many of the same terminals and

facilities as NEMF.

               iii.   Carrier: Third Party Logistics Business

       16.     Carrier is a third-party logistics company that provides supply chain management

and logistical planning services. Carrier’s gross revenues represented less than 1% of the Debtors

combined total gross revenues in 2017 and 2018.
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               iv.    Apex: Brokerage Business

       17.     Apex is a brokerage company offering transportation solutions across the country.

Apex provides LTL and TL management services and parcel audit from origin to point of sale,

including full track and trace systems, as well as partial and periodic reports to monitor shipping

progress, service levels, cost effectiveness and other performance indicators. Apex typically

handles shipping assignments that NEMF and Eastern choose not to handle. Gross revenues for

Apex in 2017 and 2018 were de minimis.

               v.     NEWT: Puerto Rico Business

       18.     NEWT is a non-vessel operation common carrier that provides service between the

United States and Puerto Rico. NEWT offers a barge service with a carrier out of the port of

Pennsauken, New Jersey to San Juan, Puerto Rico. NEWT also offers vessel services out of the

ports of Jacksonville, Florida and Houston, Texas to Puerto Rico. NEWT’s gross revenues in 2017

and 2018 represented less than 1% of the Debtors’ gross revenues.

               vi.    Jans Leasing: Equipment Rental Business

       19.     Jans Leasing is in the business of leasing trucking rigs, trailers and related

equipment. Jans Leasing’s gross revenues in 2017 and 2018 represented less than 1% of the

Debtors’ gross revenues.

               vii.   Hollywood Solar, United Solar, NEMF Logistics, MyJon and Myar

       20.     Hollywood Solar, United Solar, NEMF Logistics, MyJon and Myar are either

dormant or generating de minimis revenues. Collectively, they generated less than four-tenths of

one percent of the Debtors’ 2018 revenues.




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II.      DEBTORS’ PREPETITION CAPITAL STRUCTURE3

         A.       SECURED DEBT

                  i.       Vehicle Financing

         21.      The Debtors’ primary secured debt is for vehicle and related equipment financing

related to its fleet of vehicles. The Debtors believe that each of these vehicle financing transactions

is evidenced by a separate note and security agreement providing for liens on specific financed

fleet vehicles and related equipment (the “Vehicle Financing Agreements”). The Debtors

currently have outstanding obligations for vehicles and equipment with 12 separate lenders4

(together, the “Vehicle Lenders”) in the outstanding principal aggregate amount of approximately

$57.1 million exclusive of interest and fees. Of that amount, approximately $47.4 million is owed

by NEMF and approximately $9.7 million is owed by Eastern. It is anticipated that the Vehicle

Lenders will assert that the entire amount of that debt is secured.

                  ii.      Letters of Credit (Partially Secured Up to Deposit Amounts)

         22.      NEMF has obtained various letters of credit to support workers compensation

insurance and fleet vehicle and automobile insurance, in the aggregate amount of approximately

$30.4 million (the “Letters of Credit”). To the best of my knowledge, as of the Petition Date

none of the Letters of Credit have been drawn upon. However, because NEMF has been unable

to successfully renew or replace the existing Letters of Credit, it is expected that prior to the

expiration of the current Letters of Credit, each insurance company beneficiary under each Letter

of Credit will draw upon its Letter of Credit.




3
  The summary of loan documents and security agreements set forth herein is qualified in its entirety by the documents
themselves. To the extent there is a discrepancy between the descriptions set forth herein and the documents, the
documents control.
4
  The lenders under the Vehicle Financing Agreements are JPMorgan Chase, TD Bank, East West Bank, Santander
Bank, Capital One, Wells Fargo, Fifth Third Bank, Daimler, IBM, Mercedes Benz, Webster Capital and Volvo.
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       23.     The Letters of Credit lenders are JPMorgan Chase, TD Bank, Santander Bank, East

West Bank and Capital One (the “L/C Lenders”). The Letters of Credit, and the potential principal

amount of claims based on the Letters of Credit, are as follows:

 Bank                     L/C Amount         Beneficiary        Purpose            Exp. Date
 JP Morgan Chase          $ 7,850,000        Hartford           Work. Comp.        4/1/19
                          $ 2,450,000        United Safety      Fleet              4/10/19
                          $     46,000       Travelers          Work. Comp.        3/31/20
 TD Bank                  $ 6,000,000        Hartford           Work. Comp         2/1/20
                          $ 1,585,000        Fidelity           Work. Comp         5/1/19
                          $ 1,000,000        Arch               Work. Comp         4/1/19
                          $    573,000       Liberty            Work. Comp         3/31/19
                          $    125,000       Hartford           Personal Auto      4/10/19
 East West Bank           $ 5,951,656        Protective         Fleet              4/10/19
 Santander Bank           $ 1,419,907        Protective         Fleet              4/10/19
                          $ 2,167,437        Protective         Fleet              4/10/19
                          $    800,000       Hartford           Work. Comp.        3/31/19
 Capital One              $    428,000       Liberty            Work. Comp.        3/31/19
 Total:                   $ 30,396,000

       24.     The JPMorgan Chase Letters of Credit are supported by guarantees provided by

Eastern, Carrier and Apex. The TD Bank Letters of Credit are supported by limited guarantees,

limited to $1 million, by Eastern, Carrier and Apex.

       25.     Certain of the L/C Lenders hold deposit accounts belonging to the Debtors which

may give rise to liens or setoff rights. Prior to the Petition Date, TD Bank had frozen approximately

$2.8 million of the Debtors’ cash in deposit accounts with TD Bank. As of the Petition Date, the

Debtors also have cash in deposit accounts with JPMorgan Chase (approximately $2.7 million);

East West Bank ($506.90); Capital One ($534.80); and Santander Bank ($836.48). However, to

the best of my knowledge, none of those four banks have yet taken action to freeze their deposit

accounts.




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               iii.    Insurance Premium Financing

       26.     The Debtor also has secured insurance premium financing debt with: (i) Bank

Direct Capital Finance with regard to workers compensation insurance and umbrella insurance in

the approximate outstanding amount of $968,728 (as of December 31, 2018); and (ii) Agile

Premium Finance for cargo insurance in the outstanding approximate amount of $40,818 (as of

December 31, 2018). The amounts owed are secured by the Debtors’ reversionary interest in

unearned premiums held by the relevant insurance companies.

               iv.     Solar Loans

       27.     The Debtors have outstanding term loan obligations due for solar electric systems

and other related costs (the “Solar Loans”).         The Debtors owe the principal amount of

approximately $1.1 million on these loans. The Solar Loans are collateralized by the solar electric

equipment.

       B.      UNSECURED DEBT

               i.      Letters of Credit

       28.     As discussed above, the Debtors’ obligations under the Letters of Credit total

approximately $30.4 million, no amount of which has been drawn upon to the best of my

knowledge. The claims of the L/C Lenders are only partially secured to the extent an L/C Lender

has a deposit account holding the Debtors’ cash, and only as to those L/C Lenders’ rights to setoff.

In the aggregate, the L/C Lenders are substantially unsecured.

               ii.     Trade and Other Debt

       29.     The Debtors owe their trade creditors approximately $9.5 million as of the Petition

Date. The Debtors also owe approximately $3.2 million in other unsecured liabilities as of the

Petition Date, including approximately $1.7 million pursuant to a pension settlement agreement.



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       C.      EQUITY HOLDERS

       30.     The equity interest in each of the Debtors are owned as follows:

               a.      NEMF’s equity interests are owned by Shevell Dynasty Trust (97.3041%)

                       and Myron P. Shevell (2.6959%);

               b.      Apex’s equity interests are owned by Shevell Dynasty Trust (90%) and

                       Myron P. Shevell (10%);

               c.      Carrier’s equity interests are owned by Shevell Dynasty Trust (96.9%) and

                       Myron P. Shevell (3.1%);

               d.      Eastern’s equity interests are owned by Shevell Dynasty Trust (96.9%) and

                       Myron P. Shevell (3.1%);

               e.      Jans Leasing’s equity interests are owned by Shevell Dynasty Trust (100%);

               f.      NEWT’s equity interests are owned by Shevell Dynasty Trust (100%);

               g.      MyJon, Hollywood Solar and United Solar are wholly-owned subsidiaries

                       of NEMF; and

               h.      Myar is a wholly-owned subsidiary of Eastern.

III.   EVENTS LEADING TO THE FILING OF THE CHAPTER 11 CASES

       31.     Several factors have severely impacted the profitability of the Debtors’ businesses,

ultimately prompting the current liquidity crisis that dictated the Debtors’ decision to commence

these Chapter 11 Cases in order to conduct an orderly liquidation of their assets. While the

company’s operations were profitable for decades since the current ownership group acquired

NEMF in 1977, the Debtors have suffered a downward trend over recent years, which was

exacerbated in late 2018 by the unexpected loss of key accounts, the shortage of drivers, a new

Union contract with onerous retroactive terms, and the L/C Lenders’ ultimate unwillingness to

restructure the Debtors’ letters of credit obligations under terms acceptable to the Debtors.
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       32.     Changes and competition within the industry have had an ongoing negative impact

on the Debtors’ revenues. The Debtors’ workforce is made up of approximately 3,450 full-time

and part-time employees. The Union workforce consists of approximately: 1,425 truck drivers,

and 475 dock workers, for a total of approximately 1,900 Union employees. The non-union

workforce consists of, approximately: 145 truck drivers at Eastern, 600 part-time workers

(primarily dock workers), and 805 other employees, for a total of approximately 1,550 non-union

employees. Employee costs for the Debtors are, in the aggregate, substantially above industry

norms. Most of the LTL companies competing with the Debtors operate under non-unionized

conditions. At the same time, there has developed an industry-wide shortage of drivers, putting

the Debtors, with an aging fleet of vehicles, at a severe disadvantage.

       33.     Due to the above-described factors, among others, the Debtors have experienced

severe liquidity constraints. While the Debtors have recently made extensive efforts to reduce

costs and re-focus business, such efforts were not enough to effectively reduce losses and stave off

a bankruptcy filing.

       34.     The Debtors engaged in negotiations with the L/C Lenders in an attempt to renew

each of the thirteen Letters of Credit, ten of which have expiration dates in March and April of this

year, with corresponding renewal deadlines in February and March of this year.                 These

negotiations were ultimately unsuccessful due to the ongoing losses and the reduction in liquidity.

       35.     Beginning in the second half of 2018, the Debtors entered into negotiations with JP

Morgan Chase to consolidate all of the Letters of Credit. These negotiations continued for several

months and the Debtors believed they would ultimately be successful.




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         36.      On December 20, 2018, the Debtors retained Phoenix to assess the situation,

analyze the Debtors’ liquidity position, and take over the negotiations with the L/C Lenders to

implement a debt consolidation and restructuring plan.

         37.      Shortly thereafter, NEMF released its results for the third quarter of 2018.

Unfortunately, after JP Morgan Chase reviewed those results, it determined not to proceed under

the original terms it had proposed to the Debtors with respect to the debt consolidation and

restructuring proposal that had been under negotiation.

         38.      Thus, beginning in early January 2019, and continuing for approximately three

weeks, I attempted to negotiate renewals of the Debtors’ 13 letters of credit with 5 different banks,

10 of which have expiration dates in March and April of 2019.

         39.      On January 18, 2019, TD Bank advised it would agree to hold off on making a

determination not to renew its Letters of Credit in order to give Phoenix time to complete its cash

flow analysis, but also advised that it would agree to renew its Letters of Credit only if all the other

L/C Lenders agreed to renew their respective Letters of Credit. At that point, I had secured

tentative commitments from three of the other four L/C Lenders to renew.5

         40.      The following week, however, one of the L/C Lenders informed me that it would

not proceed with the renewal commitment unless the Debtors agreed to (i) provide additional

collateral as security for the Letters of Credit, and (ii) obtain a commitment from the Debtors’

equity holders to put additional capital into the companies.

         41.      On January 25, 2019, TD Bank declared a default under its Letters of Credit based

on an asserted (and entirely subjective) “insecure” position, and placed an administrative freeze


5
  Capital One advised me that it would not renew, but due to the relatively small size of its letter of credit
($428,000), the Debtors had the ability to offer, and I did offer, to collateralize the Capital One debt with cash at
another one of the L/C Lenders. At that point, the Capital One negotiations were effectively put on hold while I
focused on the more material negotiations with the other L/C Lenders.
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on Debtors’ deposit accounts with TD Bank. TD Bank took this action despite the fact that its

Letters of Credit have not been drawn upon and there is, accordingly, no payment default by the

Debtors. This action denied Debtors access to approximately $2.8 million in funds needed for

business operations. TD Bank then proposed to modify the account freeze if the Debtors would

sign a release of liability related to the default notice. We determined that the release of liability

was not in the Debtors’ best interests, but as a compromise offered to provide $1.2 million to TD

Bank as permanent security for its $1.0 million letter of credit for the benefit of Arch Insurance

Company. TD Bank turned down the offer.

       42.     On January 29, 2019, TD Bank sent a notice to Arch Insurance Company of non-

renewal of a $1.0 million Letter of Credit which was issued for the benefit of Arch Insurance

Company in support of certain workers compensation insurance. This Letter of Credit is due to

expire on April 1, 2019.

       43.     Shortly thereafter, I reached out to Santander Bank and East West Bank, both of

which also advised that they would not renew their Letters of Credit. JPMorgan Chase advised

that because it had not received the additional collateral it requested that it did not plan to renew.

       44.     Around this same time, I received several significant financial reports concerning

the Debtors. First, Phoenix completed its 17-week cash flow projection for each of the eleven

Debtors individually, and on a consolidated basis, which showed that NEMF would burn

approximately $18 million cash during that period; the Debtors overall would burn approximately

$16 million cash during the same period. Second, the Debtors’ chief financial officer provided

Phoenix with the Debtors’ preliminary 4th quarter and year-end results for 2018. The results

showed NEMF had experienced a 4th quarter operating loss of $8.4 million; the Debtors overall

experienced a 4th quarter operating loss of $7.3 million. NEMF’s 12-month results for 2018


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showed an aggregate operating loss of $20.9 million; the Debtors overall experienced an aggregate

operating loss of $16.2 million in 2018. Additionally, the Debtors’ 2018 EBITDA was only $1.5

million. Significantly, however, the Debtors were facing a projected debt service in 2019 of over

$19 million, comprised primarily of principal payments on the rolling stock, plus applicable

interest on the overall debt. At the same time, the Debtors’ year-end cash position for 2018 was

$7.8 million, representing a $16.4 million year over year reduction from year-end 2017. Finally,

the Debtors’ management provided Phoenix with a preliminary 2019 budget showing a projected

12-month loss of $24 million.

       45.       Armed with the foregoing financial analysis and projections, and in light of the

anticipated non-renewal of the Letters of Credit, I determined that the only viable option was to

begin a process of orderly liquidation of all of the Debtors’ assets. On January 30, 2019, I

recommended to the Debtors’ equity holders and board of directors that the Debtors had no choice

but to commence an orderly liquidation process immediately. Up until this point, the goal had

been an out-of-court workout, or, at worst, a reorganization proceeding.

       46.       The Debtors therefore determined to transition all of their focus and efforts

immediately into wind-down operations and liquidation, under the protection of chapter 11, and

immediately engaged debtors counsel.

       47.       On Monday morning, February 11, 2019, the Debtors reached an agreement in

principle with the Union with respect to a severance package for terminated rank and file Union

employees. The Debtors will present this settlement to the Court for approval pursuant to Fed. R.

Bank. P. 9019.




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IV.     FIRST DAY RELIEF REQUESTED6

        48.     To minimize the adverse effects of the commencement of these Chapter 11 Cases,

and to provide the Debtors’ with the liquidity necessary to implement their wind-down and

liquidation plan, the Debtors have requested a variety of relief in the First Day Pleadings, a list of

which is attached hereto as Exhibit A. I am familiar with the contents of each of the First Day

Pleadings, and to the best of my knowledge, information and belief, the facts set forth therein are

true and correct. I believe that the relief sought therein is necessary to permit an effective transition

into chapter 11 and wind-down operations. In sum, the First Day Pleadings are intended to provide

the Debtors with the infrastructure necessary to conduct an orderly liquidation.

        49.     With respect to the two Debtor entities, Eastern and Carrier, that will be sold on a

going-concern basis, the relief sought will enable the Debtors to promptly stabilize their vendor

relationships to secure the flow of product, materials, and services required to continue to meet

Eastern’s and Carrier’s clients’ needs, which is essential to preserve and maximize the value of

their assets and operations as a going concern pending the completion of a Section 363 sale.

        50.     With respect to the other nine Debtor entities, the relief sought will enable the

Debtors to operate those businesses in wind-down mode for a short period of time during the

liquidation process in order to preserve the value of the assets and minimize further claims against

the estate. Shortly after the filing of the Debtors’ chapter 11 petitions, the Debtors intend to

provide notice to all (or substantially all) of the employees of those nine entities that their jobs

would be terminated as a result of the liquidation. It is contemplated that over 90% of employees,

both Union and non-Union will be terminated within the first three weeks of the Petition Date. It

is anticipated that a certain number of employees will need to be retained to effectuate and


6
        Any capitalized term used but not defined herein shall have the meaning ascribed to such term in
the respective First Day Pleadings.
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complete the wind-down operations. Specifically, the Debtors estimate that for each of their 35

terminals that will be closed, it will take between one and three weeks to deliver all of the existing

inventory presently at the terminals to final destinations. This clearing of the system will require

the Debtors retain a reduced workforce on a temporary basis, and the relief sought will provide

certainty to those employees that the Debtors can—and will—meet the obligations under the

Debtors’ various employee compensation and benefit programs during the wind-down. A third

purpose is to assure the Debtors have the wherewithal to collect and process all outstanding

receivables for the ultimate benefit of creditors. I believe that the relief included in the First Day

Pleadings is necessary to accomplish these goals.

       51.     The Debtors’ estates would suffer immediate and irreparable harm absent the ability

to access cash and existing business processes to conduct an orderly liquidation, as sought in the

First Day Pleadings. In my opinion, approval of the relief requested in the First Day Pleadings

will minimize disruptions to the Debtors’ wind-down operations, thereby preserving and

maximizing the value of the Debtors’ estates for the benefits of their creditors, employees and

customers.

       A.      ADMINISTRATIVE/CASE MANAGEMENT MOTIONS

               i.      Debtors’ Application for Expedited Consideration of First Day Matters
                       (the “Expedited First Day Application”)

       52.     The Debtors request entry of an order designating their First Day Pleadings as

requiring expedited consideration before this Court. I believe that the relief requested in the

Expedited First Day Application is essential to avoid the potentially disruptive impact the

commencement of the Chapter 11 Cases might have on the Debtors and will facilitate the Debtors’

orderly transition into Chapter 11 and maintain value during the liquidation process. Accordingly,



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on behalf of the Debtors, I respectfully submit that the Expedited First Day Application should be

approved.

               ii.     Debtors’ Motion for an Order Pursuant to Bankruptcy Rule 1015
                       Directing Joint Administration of the Debtors’ Chapter 11 Cases (the
                       “Joint Administration Motion”)

       53.     The Debtors request entry of an order directing joint administration of these

Chapter 11 Cases for procedural purposes pursuant to Fed. R. Bankr. P. 1015(b), and that the Court

maintain one file and one docket for each of the Chapter 11 Cases under the lead case, New

England Motor Freight, Inc. Further, the Debtors request that an entry be made on the docket of

each of the Chapter 11 Cases to indicate the joint administration of the Chapter 11 Cases.

       54.     The Debtors also seek authority to file the monthly operating reports required by

the United States Trustee Operating Guidelines on a consolidated basis, but intend to track and

break out disbursements on a Debtor-by-Debtor basis. Additionally, for purposes of efficiency

and in order to streamline notice of all matters that may affect creditors of any of the Debtors, the

Debtors seek authority to file a single consolidated list of the 30 largest creditors in each of the

Chapter 11 Cases.

       55.     Joint administration of the Chapter 11 Cases will provide significant administrative

convenience and efficiencies without harming the substantive rights of any party-in-interest. Many

of the motions, hearings, and orders that will be filed in the Chapter 11 Cases will almost certainly

affect each of the Debtors. The entry of an order directing joint administration of the Chapter 11

Cases will reduce fees and costs by avoiding duplicative filings and objections and will allow all

parties-in- interest to monitor the Chapter 11 Cases with greater ease and efficiency.

       56.     I believe the that the relief requested in the Joint Administration Motion is in the

best interests of the Debtors’ estates, their creditors, and all parties-in-interest and will enable the

Debtors to conduct an orderly liquidation in chapter 11 in the most efficient manner possible.
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Accordingly, on behalf of the Debtors, I respectfully submit that the Joint Administration Motion

should be granted

               iii.    Application for Designation as Complex Chapter 11 Cases (the
                       “Complex Chapter 11 Application”)

       57.     By the Complex Chapter 11 Application, the Debtors request entry of an order

designating the Debtors’ Chapter 11 Cases as a complex chapter 11 case pursuant to Exhibit F to

the Court’s General Order Governing Procedures for Complex Chapter 11 Cases (the “Complex

Case Procedures”).

       58.     I believe that the Debtors satisfy the requirements for their cases to be designated

as complex chapter 11 cases under the Complex Case Procedures as there are eleven Debtors in

these cases, with approximately $98 million in liabilities, assets in excess of $177 million, and

without counting employees, there are more than 1,070 creditors in these Chapter 11 Cases.

       59.     I believe that the relief requested in the Complex Chapter 11 Application is in the

best interest of the Debtors’ estates, their creditors, and all parties-in-interest, and will enable the

Debtors to implement an orderly liquidation in a streamlined fashion, while allowing the U.S.

Trustee and other parties-in-interest to monitor the Chapter 11 Cases with greater ease and

efficiency. Accordingly, on behalf of the Debtors, I respectfully submit that the Complex Chapter

11 Application should be approved.

               iv.     Debtors’ Motion for Entry of an Order Extending Debtors’ Time to
                       File Their Schedules and Statements (the “Schedules and Statements
                       Motion”)

       60.     The Debtors request entry of an order granting a 30-day extension of the time to

file their schedules of assets and liabilities and statements of financial affairs (collectively, the

“Schedules and Statements”) for a total of 44 days after the Petition Date, without prejudice to

seek further extensions if necessary. There are eleven (11) Debtors and approximately 1,070

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creditors, approximately 3,450 employees and hundreds of other parties in interest in the Chapter

11 Cases, and the breadth of the Debtors’ businesses require the Debtors to maintain voluminous

books and records, and complex accounting systems. Given the size, complexity, and geographic

scope of the Debtors’ businesses, as well as the number of creditors, I submit that the large amount

of information that must be assembled to prepare the Schedules and Statements, and the many

employee and advisor hours required to complete them, would be unnecessarily burdensome to

the Debtors during the first 14 days following the Petition Date and unreasonably impede the

Debtors’ ability to implement an immediate wind-down of the core NEMF business (and eight

additional business entities), which is the crux of these Chapter 11 Cases. The Debtors are

sensitive to the need to complete the Schedules and Statements as soon as possible, and they intend

to complete the Schedules and Statements before the proposed 44-day deadline, if possible.

       61.     I believe that the relief requested in the Schedules and Statements Motion is in the

best interests of the Debtors’ estates, creditors, and all parties-in-interest, and will enable the

Debtors to conduct an orderly liquidation in chapter 11 in the most efficient manner possible.

Accordingly, on behalf of the Debtors, I respectfully submit that the Schedules and Statements

Motion should be granted.

               v.      Debtors’ Motion for an Order: (I) Granting the Debtors an Extension
                       of Time to File Their List of Creditors; (II) Authorizing the Debtors
                       and/or Their Agent to (A) Prepare a Consolidated List of Creditors in
                       Lieu of a Mailing List and (B) Mail Initial Notices; and (III) Granting
                       Related Relief (the “Creditor Matrix Motion”)

       62.     Pursuant to the Creditor Matrix Motion, the Debtors request entry of an order

granting them an extension of time to file their list of all creditors for 30 days after the Petition

Date. The Debtors also propose to prepare a consolidated list of creditors and interest holders

available to all parties-in-interest in lieu of submitting a mailing matrix. Additionally, the Debtors

seek authority to file a consolidated list of the Debtors’ creditors holding the 35 largest unsecured
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claims. Finally, the Debtors request that Donlin, Recano & Company, Inc., their proposed notice

and claims agent, undertake all mailings directed by this Court, the U.S. Trustee, or as required by

the Bankruptcy Code, including the notice of commencement of the Chapter 11 Cases.

       63.     As previously stated, the Debtors have approximately 1,070 creditors,

approximately 3,450 employees and hundreds of other parties in interest in the Chapter 11 Cases,

and the breadth of the Debtors’ businesses require the Debtors to maintain voluminous books and

records, and complex accounting systems. Given the size and scope of the Debtors’ businesses

and the number of creditors, I submit that the large amount of information that must be assembled

to prepare the list of creditors, and the many employee and advisor hours required to complete it,

would be unnecessarily burdensome to the Debtors at the beginning of the Chapter 11 Cases, which

is a critical time for the Debtors’ orderly liquidation plan. The Debtors are sensitive to the need to

complete the list of creditors as soon as possible, and they intend to complete the list of creditors

before the proposed 30-day deadline, if possible.

       64.     I believe that the relief requested in the Creditor Matrix Motion is in the best

interests of the Debtors’ estates, creditors, and all parties-in interest, and will enable the Debtors

to conduct an orderly liquidation in chapter 11 in the most efficient manner possible. Accordingly,

on behalf of the Debtors, I respectfully submit that the Creditor Matrix Motion should be granted.

               vi.     Debtors’ Application for Entry of an Order Authorizing the Retention
                       and Appointment of Donlin, Recano & Company, Inc. as Claims and
                       Noticing Agent Effective as of the Petition Date (the “Claims Agent
                       Application”)

       65.     Pursuant to the Claims Agent Application, the Debtors seek to retain

Donlin, Recano & Company, Inc. (“Ðonlin”) as claims and noticing agent in the Chapter 11

Cases. I believe that by retaining Donlin the Debtors’ estates, and particularly their creditors, will

benefit from Donlin’s services. Donlin specializes in noticing, claims processing, and other

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administrative tasks necessary to operate chapter 11 cases effectively. It is my understanding that

Donlin is fully equipped to manage claims issues and provide notice to creditors and other

interested parties in the Chapter 11 Cases.

       66.     The Debtors’ selection of Donlin to act as the Claims and Noticing agent has

satisfied this Court’s requirements that the Debtors have obtained and reviewed engagement

proposals from at least two other court-approved claims and noticing agents to ensure selection

through a competitive process.

       67.     Moreover, the Debtors submit, based on all engagement proposals obtained and

reviewed Donlin’s rates are competitive and reasonable given its quality of service and expertise.

The terms of Donlin’s retention are set forth in the Engagement Agreement attached as an Exhibit

to the Claims and Noticing Agent Application.

       68.     Therefore, on behalf of the Debtors, I respectfully submit that the Claims Agent

Application should be approved.

               vii.    Application of Debtors (i) to Retain Phoenix Executive Services, LLC
                       and (ii) Designate Vincent J. Colistra as Chief Restructuring Officer to
                       the Debtors, Nunc Pro Tunc to the Petition Date (the “CRO
                       Application”)

       69.     Pursuant to the CRO Application, the Debtors seek to (i) retain PES to provide post-

petition advisory services in connection with the Chapter 11 Cases and the Debtors’ wind-down

operations and orderly liquidation, and (ii) appoint myself as CRO to manage the Debtors’ efforts.

PES and I have considerable experience in providing interim management services and enjoy an

excellent reputation for services rendered in large and complex chapter 11 cases on behalf of

debtors and creditors throughout the United States. The services we provide to the Debtors will

complement, and not duplicate, the services to be rendered by other professionals retained in these



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Chapter 11 Cases. These services are necessary to preserve the value of the estates and conduct

an efficient wind-down of the Debtors’ operations.

       70.     I believe that the relief requested in the CRO Application is in the best interests of

the Debtors’ estates, creditors, and all parties-in interest, and will enable the Debtors to conduct

an orderly liquidation in chapter 11 in the most efficient manner possible.

       71.     Therefore, on behalf of the Debtors, I respectfully submit that the CRO Application

should be approved.

       B.      OPERATIONAL & CASH COLLATERAL MOTIONS

               i.      Debtors’ Motion for Order: (I) Authorizing but not Directing the
                       Debtors to (A) Pay Prepetition Wages, Salaries and Related
                       Obligations, (B) Pay and Remit Prepetition Payroll Taxes and Other
                       Deductions to Third Parties, and (C) Honor Employee Benefit
                       Programs in the Ordinary Course of Business, (II) Authorizing and
                       Directing Banks to Honor Checks and Transfers for Payment of
                       Prepetition Employee Obligations; and (III) Granting Related Relief
                       (the “Wages Motion”)

       72.     By the Wages Motion, the Debtors seek entry of an order authorizing, but not

directing, the Debtors to (a) pay prepetition wages, salaries, benefits and related obligations,

(b) pay and remit prepetition payroll taxes and other deductions to third parties, (c) honor employee

benefit programs, including severance payments, in the ordinary course of business; and

(d) authorizing and directing banks to honor checks and transfers for payment of prepetition

employee obligations;.

       73.     The Debtors employ approximately 3,450 full-time and part-time employees that

conduct the Debtors’ business, including executive, management, administrative, sales, repair

shop and terminal workers, in addition to drivers. In the ordinary course of business, employees

are paid one week in arrears, weekly, on Thursdays for the week ending on the preceding Saturday.

All required tax deductions and voluntary deductions are withheld automatically from paychecks.

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Funds to cover the Debtors’ payroll are transferred from Debtors’ main operating account to three

dedicated payroll accounts, which are used to make direct deposit, check, and executive payroll

payments, respectively. The Debtors use four separate dedicated ACH accounts to fund various

employee benefit and tax withholdings. The ACH accounts are funded weekly on Wednesday and

Thursday, from the Debtors’ main operating account,          in amounts necessary to meet such

obligations.

       74.     The Debtors seek authority to pay accrued pre-petition Employee Compensation

and Expense Obligations and prepetition obligations arising under the Employee Benefits

Programs (collectively, the “Employee Obligations”) in the ordinary course of business. The

Debtors’ average weekly employee-related payroll obligations total approximately $3.115 million.

Only three of the Debtors have employees: (i) NEMF has approximately 3,100 employees with a

gross weekly payroll of approximately $3.0 million; (ii) Eastern has approximately 140 employees

and a weekly gross payroll of approximately $110,000; and (iii) NEWT has five employees with

a weekly gross payroll of approximately $3,400.

       75.     The Debtors’ next payroll date, which covers amounts related to the pre-petition

period, comes due on February 13, 2019. The Debtors do not believe that any employee will

receive a payment in excess of the $12,850 limit on priority claims for accrued but unpaid wages

and contributions to employee benefit plans.

       76.     The continued, uninterrupted service of the employees who are retained during the

liquidation and wind-down period is essential to the Debtors’ efforts. I believe that the success of

the Debtors’ orderly liquidation is dependent, in no small part, upon the continued dedication,

goodwill, and support of their employees. I further believe that any delay in paying the Employee

Obligations outstanding as of the Petition Date, or a failure by the Debtors to continue their


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practices, programs, and policies with respect to employee benefits could severely disrupt the

Debtors’ relationship with their workforce, impair morale at this critical juncture, and disrupt the

Debtors’ wind-down efforts and ability to preserve and maximize the value of the estate for

creditors. Absent payment of all accrued Employee Obligations and continuation of the Debtors’

benefits programs, I believe that Employees may quickly seek alternative employment, which

would hinder the Debtors’ ability to implement their liquidation plan in an orderly manner. I

believe that the relief requested in the Wages Motion is in the best interests of the Debtors, their

estates, and creditors, and all other parties-in-interest in the Chapter 11 Cases, and will enable the

Debtors to conduct an orderly liquidation in chapter 11 in the most efficient manner possible.

Accordingly, on behalf of the Debtors, I respectfully submit that the Wages Motion should be

granted.

               ii.     Debtors’ Motion for Entry of Interim and Final Orders: (A)
                       Authorizing the Debtors to (I) Continue Their Cash Management
                       System, (II) Honor Certain Related Prepetition Obligations, (III)
                       Maintain Existing Business Forms, and (IV) Continue to Perform
                       Intercompany Transactions; (B) Authorizing and Directing the
                       Debtors’ Banks to Honor All Related Payment Requests; (C) Granting
                       Interim and Final Waivers of the Debtors’ Compliance With Section
                       345(b) of the Bankruptcy Code; (D) Scheduling a Final Hearing; and
                       (E) Granting Related Relief (the “Cash Management Motion”)

       77.     The Debtors request entry of an order authorizing them to: (i) continue their Cash

Management System; (ii) honor certain related prepetition obligations; (iii) maintain existing

Business Forms in the ordinary course of business, and (iv) continue to perform Intercompany

Transactions in the ordinary course as necessary during the wind-down period. The Debtors also

request the order provide additional relief, including: (a) the authorizing and directing the Debtors’

Banks to honor all related payment requests; (b) granting interim and final waivers of the Debtors’

compliance with the deposit and investment guidelines set forth in section 345(b) of the


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Bankruptcy Code, (c) scheduling a final hearing to consider entry of an order approving the relief

requested in the Cash Management Motion on a final basis, and (d) granting related relief.

           78.     In the ordinary course of business, the Debtors utilize and maintain an integrated

and centralized cash management system to collect, manage, and disburse funds used in their

operations. The Cash Management System is essential to the efficient execution and achievement

of the Debtors’ objectives in these Chapter 11 Cases, and to maximize value of their estates.

           79.     As of the Petition Date, the Debtors maintained 43 accounts (the “Bank Accounts”)

at several banks and financial institutions (the “Banks”) in the United States.

                            a.       The Cash Management System

           80.     The Cash Management System is primarily centered around the Debtors’

operational banking relationship with JP Morgan Chase. The following Debtors each maintain a

primary, standalone operating account with JP Morgan Chase to receive deposits of customer

receipts via electronic transfer or check, and also to disburse accounts payable checks to that

entity’s vendors: (i) NEMF (a/c 6365) (the “NEMF Main Operating Account”); (ii) Eastern (a/c

3262); (iii) NEWT (a/c 9183); (iv) Carrier (a/c 5861); (v) Apex (a/c 7814); and (vi) Jans Leasing

(a/c 7911).7 The Debtors do not sweep cash from those six accounts into any consolidated account.

NEMF also maintains an account which is used solely to receive payments of customer receipts

via credit card (a/c 3180) (the “Credit Card Account”). These payments are primarily received

from NEMF customers, but occasionally from customers of Eastern and NEWT. At the discretion

of the Debtors’ management, balances in the Credit Card Account are generally transferred to the

NEMF Main Operating Account.




7
    The Jans Leasing operating account has minimal activity and does not make disbursements.
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         81.      In addition to the NEMF Main Operating Account and the Credit Card Account,

NEMF maintains four zero balance, or “ZBA” accounts at JPMorgan Chase, which are funded on

an as-needed basis by the NEMF Main Operating Account (the “Chase ZBA Accounts”). The

Debtors use the Chase ZBA Accounts to: (i) fund accounts payable disbursements (a/c 5726);

(ii) fund employee payroll through direct deposit to certain employees of NEMF, Eastern, and

NEWT (a/c 7245);8 (iii) fund employee payroll through pay checks to certain employees of NEMF,

Eastern, and NEWT (a/c 0671); and (iv) fund executive payroll (a/c 7600).

         82.      NEMF also maintains four accounts at JPMorgan Chase that are used for specific

ACH debit purposes, and which are also are funded on an as-needed basis by the NEMF Main

Operating Account (the “Chase ACH Debit Accounts”). The Debtors use the Chase ACH Debit

Accounts to: (i) fund employee 401k withholdings for employees of NEMF, Eastern, and NEWT

(a/c 8770); (ii) fund payments for employees’ workers compensation benefits to Liberty Mutual

(a/c 5661); (iii) fund payments for employees’ healthcare benefits to United Healthcare

(a/c 7312); and (iv) fund payments to taxing authorities and certain vendors and lenders that have

required that their invoices be paid by automatic ACH debit (a/c 7555).9

         83.      The Debtors also maintain additional accounts at JPMorgan Chase and various

other banks, including TD Bank. To the extent those accounts remain active, however, the

accounts are generally not significant to the Debtors’ operations and contain de minimis balances.

The total amount of cash held in accounts outside JPMorgan Chase is approximately $3.2 million,

as of the Petition Date, and approximately $2.8 million to $3.1 million of those funds are at TD

Bank.


8
  This account is also used to fund direct deposit disbursements to a very small group of vendors and lenders,
including the Debtors fleet card providers, EFS and Comdata (as discussed in greater detail below). As of the
Petition Date, the Debtors intend to block all non-essential transfers from this account.
9
  As of the Petition Date, the Debtors intend to block all non-essential ACH debits from this account.
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                      b.       Bank and Investment Fees

       84.     The Debtors pay on average approximately $15,000 per month in bank and

investment fees incurred in connection with maintaining the Bank Accounts (the “Bank Fees”).

The Debtors pay the Bank Fees as they come due on a rolling basis over the course of each month,

typically by direct debit. The Debtors do not believe there are any outstanding Bank Fees as of

the Petition Date.

                      c.       Business Forms

       85.     In the ordinary course of their business and as part of the Cash Management

System, the Debtors utilize numerous preprinted business forms, including, without limitation,

letterhead, purchase orders, invoices, and preprinted checks (the “Business Forms”). The Debtors

also maintain books and records to document, among other things, receipts and expenses. To

minimize expenses to the Debtors’ estates and avoid confusion on the part of employees,

customers, vendors, and suppliers during the pendency of the Chapter 11 Cases, the Debtors

request that the Court authorize the continued use of their Business Forms and other

correspondence and documents as such forms were in existence immediately before the Petition

Date and thereafter, without reference to the Debtors’ status as debtors in possession, rather than

requiring the Debtors to incur the expense and delay of ordering entirely new business forms as

required under the U.S. Trustee Guidelines.

                      d.       Fleet Cards and Fleet Payment Service

       86.     In the ordinary course of business, some of the Debtors’ drivers utilize company-

provided fleet cards and fleet payment services for the purchase of fuel, oil, repairs, towing and

other related fleet expenses. The Debtors’ fleet card and payment services are obtained from two

third-party providers, Comdata (used by NEMF) and EFS (used by Eastern). Comdata is utilized

as a payment system service and EFS is utilized as both a payment system and a fleet card
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service. The Debtors pay on average approximately $75,000 per week related to the use of fleet

cards and fleet payments, and seek authority to continue this practice during wind-down

operations.

                        e.        Intercompany Transactions

        87.     In connection with the daily operations of the Cash Management System, as funds

are disbursed throughout the system, and as business is transacted among the Debtors, at any given

time there may be intercompany claims owing by one Debtor to another. The Debtors track all

transfers of funds in their accounting system and can ascertain, trace and account for all

intercompany transactions (the “Intercompany Transactions”). Under existing procedures for

identifying and recording Intercompany Transactions, the Debtors will be able to track and

segregate post-petition Intercompany Transactions. If the Intercompany Transactions were to be

discontinued, the Cash Management System and the Debtors’ operations would be unnecessarily

disrupted, the detriment of the Debtors and their estates.

        88.     I believe the Debtors’ continued use of the Cash Management System will greatly

facilitate their transition into the Chapter 11 Cases by, among other things, avoiding administrative

inefficiencies and expenses, minimizing delays in payment of post-petition debts, and providing

important internal controls. I believe that parties-in-interest will not be harmed by the Debtors’

maintenance of the existing Cash Management System, including their Bank Accounts, because

the Debtors have implemented appropriate mechanisms to ensure that unauthorized payments will

not be made on account of obligations incurred before the Petition Date. Specifically, the Debtors

and their advisors have implemented internal protocols that prohibit payments on account of pre-

petition debts without the prior approval of appropriate managers. In light of such protective

measures, the Debtors submit that maintaining the Cash Management System is in the best interests

of their estates and creditors.
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       89.     Given the substantial economic scale and geographic reach of the Debtors’ business

operations, I believe that any disruption to the Cash Management System could impede the

efficient execution and achievement of the Debtors’ orderly liquidation plan in these Chapter 11

Cases. Accordingly, I believe that the relief requested in the Cash Management Motion is in the

best interests of the Debtors’ estates and will enable the Debtors to conduct an orderly liquidation

in chapter 11 in the most efficient manner possible. Therefore, on behalf of the Debtors, I

respectfully submit that the Cash Management Motion should be granted.

               iii.    Debtors’ Motion For Interim and Final Orders Under Section 366 of
                       the Bankruptcy Code (A) Prohibiting Utility Providers From Altering,
                       Refusing, or Discontinuing Service, (B) Deeming Utilities Adequately
                       Assured of Future Performance, (C) Establishing Procedures For
                       Resolving Requests For Additional or Different Adequate Assurance of
                       Payment, and (D) Scheduling a Final Hearing (the “Utilities Motion”)

       90.     As of the Petition Date, the Debtors operate approximately 36 terminals and other

facilities in 15 states (the “Locations”). Prior to the Petition Date, in the ordinary course of the

Debtors’ business, the Debtors spent an average monthly cost of approximately $280,479 to

provide various Utility Services for the Locations.

       91.     By the Utilities Motion, the Debtors seek the entry of both interim and final orders:

(i) prohibiting Utility Providers from altering, refusing, or discontinuing service to the Debtors

merely because of the filing of bankruptcy or the failure to pay pre-petition amounts due;

(ii) deeming Utility Providers adequately assured of future performance by the payment of the

Debtors into a Debtor controlled segregated account an amount equal to ½ month’s average bill

(averaged over the previous twelve months) for each Utility Provider; (iii) establishing procedures

for resolving requests for additional or different adequate assurance of payment should any Utility

Provider timely make such a request; and (iv) scheduling a final hearing to consider the entry of

an order approving the relief requested in the Utilities Motion on a final basis. The Utilities Motion

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also includes a request that the Debtors be authorized to add to their list of Utility Providers any

Utility Provider that may be inadvertently omitted from the original list filed with the Utilities

Motion, and to have the relief granted by the Court in any interim or final order entered apply to

these additional Utility Providers as well.

        92.     I believe that uninterrupted Utility Services for the Locations are essential to the

Debtors’ ability to conduct the wind-down operations in an orderly manner. Additionally, any

interruption of Utility Services, even for a brief period of time, likely would negatively affect the

Debtors’ efforts to preserve and maximize the value of the estates. I believe that the relief

requested in the Utilities Motion is in the best interests of the Debtors’ estates, their creditors, and

all parties-in-interest and will enable the Debtors to conduct an orderly liquidation in chapter 11

in the most efficient manner possible. Accordingly, on behalf of the Debtor, I respectfully submit

that the Utilities Motion should be granted.

                iv.     Debtors’ Motion for Order (I) Authorizing the Debtors to (A) Continue
                        Prepetition Insurance Programs, (B) Pay any Prepetition Premiums
                        and Related Obligations, and (C) Renew or Enter Into New Insurance
                        Arrangements; and (II) Granting Related Relief (the “Insurance
                        Motion”)

        93.     By the Insurance Motion, the Debtors seek entry of an order to continue various

pre-petition insurance policies and premium financing agreements covering a variety of matters

such as special form property damage, flood, general liability, freight forwarders liability, motor

truck cargo insurance, shippers interest coverage, pollution liability, trucker liability, umbrella

coverage, automobile liability, crime, cyber liability, workers’ compensation liability, directors

and officers coverage, and employed lawyers professional insurance (collectively, the “Insurance

Programs”), and pay all pre-petition and post-petition obligations in respect thereof in the

ordinary course of their business.


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       94.       In connection with the day-to-day operations of their business, the Debtors maintain

various Insurance Programs and related insurance policies as set forth on a non- exhaustive list

attached to the Insurance Motion through several different insurance providers (the “Insurance

Providers”).

       95.       The Debtors are required to pay premiums under the Insurance Programs based on

a fixed amount established and billed by each Insurance Provider. Depending on the particular

Insurance Policy, premiums are either: (i) paid in installments over the term of the policy; or (ii)

pre-paid at a policy’s inception or renewal. As of the Petition Date, the Debtors are current on all

of their Insurance Programs. However, as set forth in the Insurance Motion, certain obligations

under the Insurance Programs may have accrued prepetition that do not become due until after the

Petition Date.

       96.       The total annual premiums under the current Insurance Policies and PFAs are

approximately $9,882,171, including all related fees and charges. As of the Petition Date, the

Debtors estimate that they currently owe approximately $1,106,225 under the Insurance Policies

and PFAs, as follows:

               POLICY/PROGRAM                          APPROXIMATE AMOUNT
               Premium Financing                             $437,625
               NJ Manufacturers (WC)                         $258,600
               Ohio Bureau of WC                             $150,000
               Maine Employers' (WC)                         $100,000
               Fleet Auto Policy                             $160,000
                         Total                              $1,106,225

       97.       Accordingly, on behalf of the Debtors, I respectfully request that the relief

requested in the Insurance Motion be granted to prevent any disruption of the Debtors’ Insurance

Policies and Insurance Programs and any attendant harm to the Debtors’ orderly liquidation and

wind-down operations that such disruption would cause.
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               v.      Debtors’ Motion for Entry of Order (I) Authorizing the Debtors to Pay
                       Certain Prepetition Taxes and Fees in the Ordinary Course of Business
                       and (II) Authorizing Banks and Financial Institutions to Honor and
                       Process Checks and Transfers Related Thereto (the “Tax Motion”)

       98.     In the Tax Motion, the Debtors request entry of an order authorizing them to pay

(i) certain prepetition use, mileage/highway use, fuel, franchise, ad valorem and other taxes and

(ii) certain prepetition tolls, fees, licenses and other similar charges and assessments, which

accrued or arose in the ordinary course of business before the Petition Date. The Debtors estimate

that the following approximate amount of taxes and fees in each category, totaling approximately

$755,000 in the aggregate, have accrued and remain owing as of the Petition Date:

                  CATEGORY                                      APPROXIMATE AMOUNT
 Mileage/Highway Use Taxes                                             $65,000
 Fuel Taxes                                                            $50,000
 Use Taxes                                                             $15,000
 Franchise and CAT Taxes                                              $150,000
 Ad Valorum Taxes                                                      $15,000
 Tolls                                                                $450,000
 Business License, Registration and Unclaimed
                                                                         $10,000
 Property Fees
 Motor Vehicle Registration Fees                                      None Known

       99.     The Debtors must continue to pay all taxes and governmental fees when due to

continue operating during their wind-down phase and pending the sale of Eastern and Carrier.

Failure to pay all taxes and governmental fees (including taxes and fees that arose pre-petition)

when due could result in taxing authorities suspending the Debtors’ ability to operate, filing liens,

and/or seeking relief from the automatic stay to take action against the Debtors.

       100.    The relief the Debtors seek in the Tax Motion will enable the Debtors to conduct

an orderly liquidation in chapter 11 in the most efficient and value-maximizing manner possible.

Accordingly, to prevent immediate, irreparable harm to the Debtors’ estates, I believe that the




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relief requested in the Tax Motion is in the best interests of the Debtors and their estates and

creditors and all other parties-in-interest in the Chapter 11 Cases and, therefore, should be granted.

               vi.     Debtors’ Motion for Interim and Final Orders (I) Authorizing Use of
                       JP Morgan Chase Bank, N.A.’s Cash Collateral Pursuant to 11 U.S.C.
                       § 363, (II) Granting Adequate Protection Pursuant to 11 U.S.C. §§ 361
                       and 363, (III) Modifying the Automatic Stay, and (IV) Scheduling a
                       Final Hearing Pursuant to Bankruptcy Rule 4001 (the “Chase Cash
                       Collateral Motion”)

               vii.    Debtors’ Motion for Interim and Final Orders (I) Authorizing Use of
                       TD Bank N.A.’s Cash Collateral Pursuant to 11 U.S.C. § 363, (II)
                       Granting Adequate Protection Pursuant to 11 U.S.C. §§ 361 and 363,
                       (III) Modifying the Automatic Stay, and (IV) Scheduling a Final
                       Hearing Pursuant to Bankruptcy Rule 4001 (the “TD Cash Collateral
                       Motion”)

       101.    To transition into chapter 11 with as little disruption as possible and to enable the

Debtors to effectuate wind-down operations and an orderly liquidation of their assets, including

the pursuit of a value-maximizing sale of Eastern and Carrier, the Debtors require the ability to

use cash collateral held by TD Bank and JP Morgan Chase (“Cash Collateral”). The Debtors are

in discussions with TD Bank and JP Morgan Chase to use Cash Collateral in accordance with a

budget (which incorporates other cash sources in addition to the Cash Collateral) that the Debtors

believe will be sufficient to pay their administrative expenses that become due and payable during

wind-down operations and before a sale of Eastern and Carrier can be consummated. Specifically,

the Debtors propose to use Cash Collateral for purposes of funding the wind-down operations,

including payroll, employee severance, insurance, and ordinary expenses necessary to “clean out

the system” of pending deliveries, which the Debtors anticipate will take 1 to 3 weeks at each

terminal.

       102.    As adequate protection to JPMorgan Chase and TD Bank, the Debtors will grant

replacement liens upon all of the Debtors’ property (not already subject to a lien of another secured

creditor on the Petition Date) in the amount of any diminution in value of each bank’s respective
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cash collateral on the Petition Date (which we believe is in the range of less than $3 million each)

and junior liens on all of the Debtors’ assets.

       103.    For the foregoing reasons, I believe that the terms and conditions of the use of Cash

Collateral are fair, reasonable, and negotiated in good faith and at arms’ length after extensive

efforts to obtain the most advantageous post-petition financing. I further believe that the relief

requested in the Chase and TD Cash Collateral Motions is in the best interests of the Debtors’

estates, their creditors, and all other parties-in-interest, and will enable the Debtors to conduct an

orderly liquidation in chapter 11 in the most efficient and value-maximizing manner possible. On

behalf of the Debtors, I respectfully submit that the Court should (a) approve the use of Cash

Collateral on an interim basis pursuant to the proposed Interim Orders and (b) enter the Final

Orders at the Final Hearing.

V.     CONCLUSION

       104.    The relief sought in the various First Day Pleadings would allow the Debtors to,

among other things: (i) obtain certain operational relief and establish various administrative

procedures to promote a seamless transition into bankruptcy and wind-down operations, and

(ii) obtain use of cash collateral in order to fund the Debtors’ wind-down operations, orderly

liquidation and the administration of these Chapter 11 Cases.

       105.    I have reviewed each of the First Day Pleadings, and I believe the Debtors would

suffer immediate and irreparable harm absent the ability to continue their operations as sought in

the First Day Pleadings during the orderly liquidation. In my opinion, approval of the relief sought

in the First Day Pleadings will be critical to maintaining the stability of the Debtors’ business

operations during the wind-down period, preserving value, minimizing further liabilities to the

estates, and allowing the Debtors to focus their efforts on completing an orderly liquidation in the

most efficient and value-maximizing manner possible. Unless this “first day” relief is granted, I
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